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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN

     MICHAEL BOWMAN, individually
     and on behalf of all others similarly       Case No. 17-cv-11630-NGE
     situated,
                                                 Hon. Nancy G. Edmunds
                             Plaintiff,
     v.                                          Mag. R. Steven Whalen

     ART VAN FURNITURE, INC., a
     Michigan corporation,

                             Defendant.


                     ORDER GRANTING PRELIMINARY
                 APPROVAL OF CLASS ACTION SETTLEMENT

          WHEREAS, an alleged class action is pending before the Court entitled

 Bowman v. Art Van Furniture, Inc., Case No. 2:17-cv-11630-NGE-RSW; and

          WHEREAS, Plaintiff Michael Bowman (“Plaintiff” or “Bowman”) and

 Defendant Art Van Furniture, LLC. (“Defendant” or “Art Van”) 1 have entered into

 a Settlement Agreement, which, together with the exhibits attached thereto, sets

 forth the terms and conditions for a proposed settlement and dismissal of this

 Action with prejudice for the claims of the Settlement Class upon the terms and

 conditions as set forth in the Settlement Agreement; and




 1
  The Parties advise that Art Van Furniture, Inc. has converted to Art Van
 Furniture, LLC, a Delaware limited liability company.
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       WHEREAS, the Court has read and considered the Settlement Agreement

 and exhibits attached thereto, this matter coming before the Court upon the

 agreement of the Parties, good cause being shown, and the Court being fully

 advised in the premises.

 IT IS HEREBY ORDERED AS FOLLOWS:

       1.     The terms and phrases in this Order shall have the same meaning as

 ascribed to them in the Parties’ Settlement Agreement.

       2.     Plaintiff has moved the Court for an order approving the settlement of

 the Action in accordance with the Settlement Agreement, which, together with the

 documents incorporated therein, sets forth the terms and conditions for a proposed

 settlement and dismissal of the Action with prejudice against Art Van, and the

 Court having read and considered the Settlement Agreement and being fully

 advised in the premises, hereby preliminarily approves the Settlement Agreement

 in its entirety subject to the Fairness Hearing referred to in Paragraph 18 of this

 Order.

       3.     The Court finds that this action satisfies the four prerequisites under

 Fed. R. Civ. P. 23(a)(1)-(4) for a class action. First, the class is so numerous “that

 joinder of all members is impracticable.” Plaintiff asserts that there are

 approximately 1,150,000 class members and that Defendant Art Van has addresses

 for most of them. (Pl.’s Mot. at 6, dkt. 35.) Next, Plaintiff alleges that the class

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 members share Telephone Consumer Protection Act (TCPA), 47 U.S.C. 227 et

 seq., claims, alleging that Defendant “unlawfully called them using its pre-

 recorded voice technology without first obtaining written prior express consent as

 required from anyone.” (Pl.’s Mot. 11, dkt. 35.) The Court agrees that the issues

 identified by Plaintiff are common to the class members and would advance the

 litigation with resolution. The Court agrees with Plaintiff that his claims and those

 of the proposed class members arise from the same alleged conduct by Defendants:

 violations of the TCPA and finds that the typicality requirement is satisfied. Fed.

 R. Civ. P. 23(a)(3). Finally, with respect to the adequacy of representation, the

 named Plaintiff, as class representative, shares claims and common interests with

 the proposed class members. There is no suggestion of conflicts of interest. The

 Court has also considered the adequacy of class counsel in connection with

 Plaintiff’s request to appoint class counsel, and finds that the proposed class

 counsel satisfy the adequacy requirements and appear competent to represent the

 class in this action.

        4.     The Court finds that the prerequisites for a class action under Fed. R.

 Civ. P. 23(b)(2) and (3) have been met. Under the proposed settlement agreement,

 Defendant will adopt changes designed to reduce the likelihood that its calling

 programs violate the TCPA, and the assurances set forth in the proposed settlement

 agreement apply to the entire class. Fed. R. Civ. P. 23(b)(2). In this case, common

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 factual and legal questions go to the center of the controversy, and the answers or

 proofs will be applicable to the class as a whole. For example, whether Defendant

 used a pre-recorded message in its calls. The Court also finds that a class action is

 the superior method of adjudication in this matter, where the number of potential

 members is great, yet the individual claims are of a range not sufficient enough to

 merit individual lawsuits with counsel. Fed. R. Civ. P. 23(b)(3).

       5.     Considering the factors set forth in Fed. R. Civ. P. 23(g)(1)(A), the

 Court appoints Steven Woodrow, Patrick H. Peluso and Taylor T. Smith of

 Woodrow & Peluso, LLC, and Stefan L. Coleman of the Law Offices of Stefan

 Coleman, P.A. as class counsel.(See e.g., (Pl.’s Mot. Ex. B at Ex. 2.)

       6.     This Court finds that it has jurisdiction over the subject matter of this

 action and over all Parties to the Action, including all members of the Class

 (“Settlement Class Members”), which the Court hereby certifies solely for the

 purposes of the Settlement Agreement, and which is defined as follows:

       All individuals and entities who were called by or on behalf of Art Van
       Furniture through the use of pre-recorded voice technology between
       May 23, 2013 and the date of entry of the Preliminary Approval Order.

       7.     The Court finds that, subject to the Fairness Hearing, the Settlement

 Agreement is fair, reasonable, adequate, and in the best interests of the Class

 Members as to their claims against Art Van. The Court further finds that the

 Settlement Agreement substantially fulfills the purpose and objectives of the class

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 action against Art Van and provides beneficial relief to the Class.

       8.     The Court also finds that the Settlement Agreement (a) is the result of

 arms’ length negotiations involving experienced class action attorneys and

 overseen by an experienced third-party mediator; (b) is sufficient to warrant notice

 of the settlement and the Fairness hearing to the Class; (c) meets all applicable

 requirements of law, including Federal Rule of Civil Procedure 23, and the Class

 Action Fairness Act (“CAFA”), 28 U.S.C. § 1715; and (d) is not a finding against,

 or an admission of liability by, Art Van.

                             Notice and Administration

       9.     Pursuant to the Settlement Agreement, Epiq Systems

 (https://www.epiqglobal.com/en-us/home) is hereby appointed as Settlement

 Administrator and shall be required to perform all the duties of the Settlement

 Administrator as set forth in the Agreement and this Order.

       10.    The Court finds that the Notice Plan and all forms of Notice to the

 Class as set forth in the Settlement Agreement and the Exhibits thereto is also

 approved as its form, method, and content, complies with the requirements of Rule

 23 and due process, and constitutes the best notice practicable under the

 circumstances. Fed. R. Civ. P. 23(c)(2)(B). The Court further finds that the Notice

 is reasonably calculated to, under all circumstances, apprise the members of the

 Class of the pendency of this action, the certification of the Class, the terms of the

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 Settlement Agreement, and the right of members to object to the settlement and to

 exclude themselves from the Class. The Parties, by agreement, may revise the

 Notice in ways that are not material, or in ways that are appropriate to update those

 documents for purposes of accuracy or formatting.

       11.    The Settlement Administrator shall implement the Notice Plan for

 individual/direct notice as set forth in the Settlement Agreement. The parties agree

 that if the individual/direct notice effort results in less than an 85% reach, the

 Settlement Administrator will recommend an appropriate supplemental, online

 notice effort to raise the overall reach of the Notice Plan to 85%.

       12.    Art Van, or the Settlement Administrator acting on its behalf, shall

 also cause the requirements of 28 U.S.C. § 1715 to be satisfied through service of

 notice of the proposed Settlement upon the Attorneys General of each U.S. State

 and the Attorney General of the United States.

                                       Exclusion

       13.    Settlement Class Members who wish to exclude themselves from the

 Class for purposes of this Settlement may do so by complying with the Opt-Out

 procedures set forth below. Any member of the Class who timely requests

 exclusion consistent with those procedures shall not be bound by the terms of the

 Settlement Agreement.

       14.    To exercise the right to Opt-Out, the Class Member must complete,

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 sign, and mail to the Settlement Administrator a request for exclusion, on or before

 September 26, 2018. The request for exclusion must comply with the exclusion

 procedures set forth in the Settlement Agreement and Notice. An Opt-Out request

 must include: (a) the requester’s full name, address, name of the Action, and

 telephone number; (b) the telephone number at which the requester allegedly

 received a pre-recorded voice call that is the subject of this Settlement Agreement;

 (c) contain the requester’s personal and original signature, or the original signature

 of a person previously authorized by law, such as a trustee, guardian or person

 acting under a power of attorney, to act on behalf of the requester with respect to a

 claim or right such as those in the Action; and (d) state unequivocally that the

 requester desires to be excluded from the Settlement Class, to be excluded from the

 Settlement, not to participate in the Settlement, and/or to waive all rights to the

 benefits of the Settlement. A request for exclusion may not request exclusion of

 more than one member of the Class.

       15.    Class Members who submit complete Opt-Outs that are postmarked

 before the Opt-Out Deadline set forth in paragraph 14 above shall receive no

 benefit or compensation under this Settlement Agreement, shall have no right to

 object to the proposed Settlement Agreement or participate at the Fairness Hearing,

 and shall not be bound by any order or judgment entered in this Action.



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                                      Objections

       16.    Any Settlement Class Member may comment in support of, or in

 opposition to, the Settlement at his or her own expense; provided, however, all

 comments and/or objections must be in writing and mailed or hand-delivered to the

 Clerk of the Court and the Settlement Administrator and postmarked or delivered

 by no later than the Objection Deadline, which shall be the same date as the Opt-

 Out Deadline set forth in paragraph 14 above (September 26, 2018). Objections

 may be filed by counsel for a Settlement Class Member though any such counsel

 must file an appearance in the Action.

       17.    To object, a Class member must sign and file a written objection no

 later than the Objection Deadline set forth in the Settlement Agreement. Each

 Objection must: (i) set forth the Settlement Class Member’s full name, current

 address, and telephone number; (ii) identify the telephone number of the

 Settlement Class Member at which the Settlement Class Member claims phone

 calls subject to the Settlement were received; (iii) contain the Settlement Class

 Member’s original signature or the signature of counsel for the Settlement Class

 Member; (iv) state that the Settlement Class Member objects to the Settlement, in

 whole or in part; (v) set forth the complete legal and factual bases for the objection,

 including citations to relevant authorizes; (vi) provide copies of any documents

 that the Settlement Class Member wishes to submit in support of his/her position;

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 and (vii) state whether the objecting Settlement Class Member intends on

 appearing at the Fairness Hearing either pro se or through counsel and whether the

 objecting Settlement Class Member plans on offering testimony at the Fairness

 Hearing. All Objections must be mailed or hand-delivered to the Court before the

 Objection Deadline.

                                  Fairness Hearing

       18.    The Fairness Hearing shall be held before this Court on October 24,

 2018 at 1:00 P.M.. at the Theodore Levin U.S. Courthouse, Courtroom 811, 231

 W. Lafayette Blvd., Detroit, Michigan 48226, to determine whether the proposed

 Settlement Agreement with Art Van is fair, reasonable, and adequate and should be

 given final approval by the Court. The Court may adjourn the Fairness Hearing or

 conduct it by telephone without further notice to Class Members.

                                   Further Matters

       19.    To protect its jurisdiction to consider the fairness of this Settlement

 Agreement and to enter a Final Order and Judgment having binding effect on all

 Settlement Class Members, the Court hereby enjoins all Settlement Class

 Members, and anyone who acts or purports to act on their behalf, from pursuing all

 other proceedings in any state or federal court that seeks to address any parties’ or

 Settlement Class Members’ rights or claims relating to, or arising out of, any of the

 Released Claims as set forth in the Settlement Agreement.

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       20.    Settlement Class Members shall be bound by all determinations and

 judgments in the Action concerning the Action and/or Settlement Agreement,

 whether favorable or unfavorable.

       21.    In the event that the Settlement Agreement is terminated pursuant to

 the provisions of the Settlement Agreement, then the Settlement Agreement shall

 be of no force and effect and the Parties’ rights and defenses shall be restored,

 without prejudice, to their respective positions as if this Settlement Agreement had

 never been executed, any orders entered by the Court in connection with this

 Agreement shall be vacated, and this Settlement Agreement shall not be used for

 any purpose whatsoever against any of the Parties. However, any payments made

 to the Settlement Administrator for services rendered to the date of termination

 shall not be refunded to Art Van.

       22.    Class Counsel shall move for an award of reasonable attorneys' fees to

 be paid as set forth in the Settlement Agreement and cause such motion to be

 posted on the Settlement Website no later than September 12, 2018 (14 days prior

 to the Opt-Out/Objection deadline).

       23.    Class Counsel shall move for Final Approval of the Settlement

 Agreement and respond to any objections no later than fourteen (14) days prior to

 the Fairness Hearing (by October 10, 2018).



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       24.   The deadline for Settlement Class Members to file claims shall be

 September 26, 2018.



 SO ORDERED.


 Dated: July 23, 2018


                                             s/Nancy G. Edmunds
                                             Nancy G. Edmunds
                                             United States District Judge




 I hereby certify that a copy of the foregoing document was served upon counsel of
 record on July 23, 2018, by electronic and/or ordinary mail.

                                             s/Kim Grimes
                                             Case Manager Supervisor, Acting in
                                             the Absence of Lisa Bartlett, Case
                                             Manager




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